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                         Attachment A
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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

 In the Matter of the Search of               Case No. 8:23-mj-1541SPF
 Timothy Burke’s Residence at
 5914 N. Tampa Street
 Tampa, FL 33604

                      STIPULATION REGARDING
                CERTAIN SEIZED ELECTRONIC EVIDENCE

       The United States of America, by Roger B. Handberg, United States Attorney

 for the Middle District of Florida, and Timothy Burke and his counsel, Michael P.

 Maddux and Mark Rasch (collectively, “Burke”), hereby agree and stipulate as follows:

                                     RECITALS

       1.     On May 8, 2023, a court-authorized search warrant (the “warrant”) was

              executed by Special Agents with the Federal Bureau of Investigation

              (“FBI”) at the residence of Timothy Burke, 5914 N. Tampa Street,

              Tampa, FL, 33604.

       2.     Pursuant to the execution of that warrant, the FBI Special Agents

              seized certain electronic items (hereinafter, the “items”) containing data

              and information (the “information”), which items are more particularly

              described in the Evidence Collected Item Log (dated May 8, 2023),

              attached hereto as Attachment A, and incorporated into this

              Stipulation.

       3.     The United States intends to use the items seized, and their contents, as

              evidence in the ongoing investigation and any resulting prosecution
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                including, possibly, introducing those items and/or their contents into

                evidence in a future legal proceeding.

        4.      The United States has agreed, to the extent possible, 1 to create and

                produce to Burke copies of folders and files contained in the items

                seized using reliable methods (hereinafter, the “copy(ies)”), withholding

                only the information believed by the United States to fall within its

                authority to seize under Attachment B (Particular Things to be Seized)

                to the warrant or authorized by further agreement with Burke or

                subsequent court order.

        5.      Burke has requested the return of the items seized, and in the interest of

                expediting the return of the seized items and/or their contents, has

                agreed to the following terms.

                                         STIPULATION

        6.      Other than accessing the items to create complete, exact, and accurate

                duplicates of the items for use by the United States during its

                investigation and any resulting prosecution in accordance with

                paragraph 3 above and/or to produce to Burke copies in accordance

                with paragraph 4 above, the FBI will maintain the original items in

                evidence, absent further agreement with Burke or subsequent court




 1
  Should the United States be unable to access and forensically image an item, it will not be possible
 to produce to Burke copies contained in that item.
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            order authorizing the removal and/or destruction of a particular item,

            or some part thereof.

       7.   A duplicate of an item, and any copy that has been extracted from an

            item and produced by the United States to Burke pursuant to this

            Stipulation, “is admissible [into evidence] to the same extent as the

            original,” within the meaning of Fed. R. Evid. 1003, and may be

            admitted into evidence in any legal proceedings where the item and/or

            any copy that has been extracted from an item would be admissible.

       8.   Further, a duplicate of an item, and any copy that has been extracted

            from an item and produced by the United States to Burke pursuant to

            this Stipulation, satisfies the requirements of authentication and

            identification, and the parties to this Stipulation waive any and all

            objections, and will not object, to the admissibility of the items (and/or

            any parts thereof) on the grounds of foundation, authentication, and/or

            that the items (and/or any parts thereof) are duplicates of or are not the

            original items or images, and/or any other objection under Articles IX

            and X of the Federal Rules of Evidence.

       9.   Other than the above agreements in this Stipulation concerning the

            applicability or inapplicability of certain identified Federal Rules of

            Evidence, the parties reserve and preserve all other objections to the

            admissibility into evidence in any legal proceedings of an item and/or

            any copy that has been extracted from an item on all other grounds.
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       10.     Burke also retains the right to move to suppress any of the items and/or

               their contents pursuant to Fed. R. Crim. P. 41.

 DATE:

 Signatures:

                ________________________________
               Jay G. Trezevant
               Assistant U.S. Attorney



               ________________________________
               Timothy Burke



               ________________________________
               Michael P. Maddux
               Attorney for Timothy Burke



               ________________________________
               Mark Rasch
               Attorney for Timothy Burke
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  From:                                       on behalf of Trezevant, Jay (USAFLM)
  To:              Michael Maddux                                      ; Mark Rasch
  Cc:              Trezevant, Jay (USAFLM)
  Subject:         Burke return of property and disclosure of SW affidavit
  Date:            Friday, July 21, 2023 11:24:52 AM


  Michael and Mark,

  Good morning. This email is to follow-up on your below email and our phone call earlier today.

  Having read over some of your earlier correspondence/messages and considering our related
  discussions, I want to ensure there is no confusion about what is being proposed by the stipulation,
  particularly the language in paragraph 4.

  As you know, the warrant application submitted by the agent to the magistrate judge identified the
  basis for the search as including: (1) evidence of a crime; (2) contraband, fruits of crime, and other
  items illegally possessed (“fruits/contraband of crime”); and (3) property designed for use, intended
  for use, or used in committing a crime. That warrant application can be found in Case No. 8:23-mc-
  00014-WFJ-SPF, doc. 18-1 at 13-19. The language in paragraph 4 of the proposed stipulation
  specifies that the United States would produce to you copies of the folders and files contained in the
  items seized, “withholding only the information believed by the United States to fall within its
  authority to seize under Attachment B to the warrant or authorized by further agreement with Burke
  or subsequent court order.” That language, read broadly, could suggest that the United States
  intends to withhold all information that falls within its authority to seize under Attachment B to the
  warrant. To clarify, that is not what is intended. Instead, the proposal is that the United States, in
  producing material to your team under paragraph 4, would provide copies of all folders and files
  contained in the items seized, withholding only the information believed by the United States to fall
  within its authority to seize that would constitute fruits/contraband of crime. In that regard, the
  language of paragraph 4 could be modified to clarify what would be considered by the United States
  to constitute fruits/contraband, and we are amenable to discussing that with you.

  In addition, it is also worth noting that the United States is proposing a stipulation that would apply
  only to items seized that contain some information falling within its authority to seize under
  Attachment B. You have explained during our discussions that you believe some items seized fall
  completely outside the authority to seize under Attachment B. To that end, you have now provided a
  list to us of items that you believe might easily be determined to fall outside Attachment B. That list
  was provided to the FBI for use in triaging its review and production/return of material. So that there
  is no misunderstanding, please know that any item(s) seized that are determined to contain only
  information that falls outside Attachment B, will be returned and the United States will eliminate any
  image of the item(s) from its systems.

  I previously forwarded your recent (and previous) correspondence to Rachelle Bedke and Carlton
  Gammons, the Chief and Deputy Chief of the Economic Crimes Section, and have provided them
  both with additional information and material. To the extent you are amenable, and to address the
  above and/or refine issues that might unnecessarily be raised in motion practice, Chief Bedke and I
  (and possibly Deputy Chief Gammons) are available to meet with you in person or via WebEx, as
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  preferred, to discuss the above and any other directly related issues, such as your concerns about
  our process to protect potentially privileged information (about which you have now provided some
  additional detail that is helpful). The best available times to meet are Tuesday after 1 pm and
  Wednesday any time other than 2-3 pm.

  Thank you,

  Jay G. Trezevant
  Assistant U.S. Attorney
  Middle District of Florida
  400 N. Tampa Street
  Suite 3200
  Tampa, FL 33602
  Phone:

  From:                                                          On Behalf Of Trezevant, Jay
  (USAFLM)
  Sent: Wednesday, July 19, 2023 5:46 PM
  To: Michael Maddux                                        ; Trezevant, Jay (USAFLM)

  Cc:                                                        ; Mark Rasch
  Subject: RE: Burke return of property and disclosure of SW affidavit

  Michael,

  Thank you. I believe that the meeting at the FBI on Friday should work. I will confirm tomorrow
  morning one way or the other and let you know.

  Have a good evening.

  Thank you,

  Jay G. Trezevant
  Assistant U.S. Attorney
  Middle District of Florida
  400 N. Tampa Street
  Suite 3200
  Tampa, FL 33602
  Phone:


  From: Michael Maddux
  Sent: Wednesday, July 19, 2023 3:08 PM
  To: Trezevant, Jay (USAFLM)
  Cc:                                                        Mark Rasch
    b      [          ]       k         f            d d   l
  Subject: [EXTERNAL] Re: Burke return of property and disclosure of SW affidavit
